     Case 2:17-cv-00697-MHT-GMB Document 17 Filed 03/23/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

JACQUELINE THOMAS                         )
                                          )
              Plaintiff,                  )
                                          )
v.                                        )      Case No.: 2:17-cv-00697-GMB
                                          )
BURLINGTON COAT FACTORY                   )
WAREHOUSE CORPORATION                     )
                                          )
              Defendant.                  )
                                          )


                            FIRST AMENDED COMPLAINT

       COMES NOW the Plaintiff, Jacqueline Thomas, by and through her counsel of record,

and pursuant to Rule 15(a)2 of the Federal Rules of Civil Procedure, amends her Complaint to

name Burlington Coat Factory Warehouse Corporation as Defendant in place of all other named

defendants. The Plaintiff would show unto this Honorable Court that the Defendant does not

have any objection to this amendment and Plaintiff has received written consent of the

Defendant. See attached Exhibit A.

       Wherefore, these premises considered, the Plaintiff, Jacqueline Thomas, amends her

Complaint to name Burlington Coat Factory Warehouse Corporation as Defendant.




                                                 /s/ Michael L. White
                                                 MICHAEL L. WHITE (ASB-4263-W86M)
                                                 Attorney for Plaintiff,
                                                 Jacqueline Thomas
     Case 2:17-cv-00697-MHT-GMB Document 17 Filed 03/23/18 Page 2 of 2



OF COUNSEL:

Floyd, Hunter, Kies & White, P.C.
P.O. Drawer 1227
Millbrook, Alabama 36054
Telephone:     (334) 285-4488
Facsimile:     (334) 285-4552
E-mail:        mwhite@floydhunter.com



                             CERTIFICATE OF SERVICE

      I hereby certify that I have electronically filed and served a copy of the foregoing
document via CM/ECF on this the 23rd day of March, 2018 upon all interested parties.



                                                /s/ Michael L. White
                                                OF COUNSEL
